Case 2:21-cv-03762-CDJ Document 1-1 Filed 08/24/21 Page 1 of 7

EXHIBIT A
Case 2:21-cv-03762-CDJ Document 1-1 Filed 08/24/21 Page 2 of 7

, EEOC Form 5 {11/09)

 

CHARGE OF DISCRIMINATION Charge PresentedTo: —_ Agency(les) Charge No(s):

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act C FEPA
Statement and other information before completing this form.

 

 

 

 

EEOC
Pennsylvania Human Relations Commission, Philadelphia Commission on Human Relations and EEOC
State or focal Agency, ifany
Name (indicate Mr., Ms., Mrs.) Home Phone (inci. Area Code) Date of Birth
Susan Kruth 8609955007 11/28/1985

 

 

 

Street Address City, State and ZIP Code

1318 S. Reese Street, Philadelphia, PA 19147

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe Discriminated Against
Me or Others. (/f more than two are named, list under PARTICULARS below.)

 

 

Name No. Employees, Members Phone No. (Incl. Area Code)
The Foundation for Individual Rights in Education ("FIRE") 50+ 2157173473
Street Address City, State and ZIP Code

510 Walnut Street, Suite 1250, Philadelphia, PA 19106

 

 

 

 

 

Name No. Employees, Members Phone No. (incl, Area Cade)
Street Address City, State and ZIP Code
DISCRIMINATION BASED ON (Check appropriate box{es).) DATE(S) DISCRIMINATION TOOK PLACE
[_] RACE [_] cotor SEX RELIGION [_] NATIONAL ORIGIN cane ‘atest
bd O 02/11/2021
RETALIATION [_] AGE [_] DISABILITY [_] GENETIC INFORMATION
[_] OTHER (Specify) CONTINUING ACTION

 

 

THE PARTICULARS ARE {if additional paper is needed, attach extra sheet{s)):

Susan Kruth ("Complainant") files this Charge of Discrimination alleging that the Foundation for Indivdual Rights in Education ("FIRE"
and/or "Respondent") discriminated against her by terminating her employment because of her sex (female) and in retaliation for
opposing an unlawful act in violation of Title Vil, 42 U.S.C. §2000e-2(a)(1) and 3(a), § 5(a) and (d) the Pennsylvania Human Relations, 43
P.S. §§ 951-963, and Philadelphia's Fair Practice Ordinance, Section 9-1101 et seq. as described more fully in the attached document.

 

| want this charge filed with both the EEOC and the State or local Agency, if any. i will advise the NOTARY ~ When necessary for State or Local Agency Requirements

agencies if! change my address or phone number and | will cooperate fully with them in the

 

rocessing of my charge in accordance with their procedures.
a g ¥ g a | swear or affirm that | have read the above charge and that it is true to the best of my

 

knowledge, information and belief.
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
May 12, 2021 Crt (month, day, year)

Date Charging Party Signature

| declare under penalty of perjury that the above is true and correct.

 

 

 

 
Case 2:21-cv-03762-CDJ Document 1-1 Filed 08/24/21 Page 3 of 7

, EEOC Form 5411/09)

 

CHARGE OF DISCRIMINATION

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
Statement and other information before completing this form.

 

Charge Presented To: Agency(ies) Charge No(s):

[_] FEPA
[_] EEOC

 

and EEOC

 

State or focal Agency, if any

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s}):

 

i want this charge filed with both the EEOC and the State or local Agency, if any. | will advise the
agencies if i change my address or phone number and | will cooperate fully with them in the
processing of my charge in accordance with their procedures.

NOTARY - When necessary for State or Local Agency Requirements

 

 

 

| declare under penalty of perjury that the above is true and correct.

 

Date Charging Party Signature

 

| swear or affirm that | have read the above charge and that itis true to the best of my
knowledge, information and belief.

SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(month, day, year)

 

 
Case 2:21-cv-03762-CDJ Document 1-1 Filed 08/24/21 Page 4 of 7

Susan Kruth v. Foundation for Individual Rights in Education 1

Attachment to EEOC Charge

The Foundation for Individual Rights in Education (“FIRE”) terminated
Complainant after she complained about its history of treating her and other female
employees differently from male employees. Complainant alleges that she was
terminated in retaliation because of her complaint of disparate treatment of female
employees that was not applied to her male co-workers. Complainant’s termination
was completely without notice and was not based on her work performance.

FIRE routinely penalizes women for their “tone” when they are merely speaking
straightforwardly or being inquisitive while it routinely ignores men speaking with open
hostility and name-calling directed at women. In multiple reviews by Complainant's
supervisors, she was told that her “attitude” was the reason she was not being paid
more, promoted more, or put in a management position, even though her supervisor did
not cite any instances of wrongdoing when she requested he do so.

In contrast, numerous male employees routinely spoke rudely and
condescendingly to Complainant and other women, including when Complainant was
senior to them in the organization. The males did this without repercussions, even
when it was brought to the attention of their supervisor or management. Even
Executive Director Shibley routinely made rude and offensive remarks about women.
For example, Shibley stated that women shouldn't be able to vote; made a joke ina
private email to Complainant about raping his wife and when Complainant objected, told
her it wasn’t reasonable for her to be offended; and complained to her that “all the
women are asking for raises” but would not comment when asked if women were being
paid similarly to men.

Even more substantial misconduct did not deter supervisors giving male
employees promotions and raises. For example, the male employee responsible for the
most blatant sexual misconduct Complainant can recall during her time at FIRE has
been promoted rapidly since the misconduct and now sits near the top of the
organizational ladder with a large department under him. He voluntarily left FIRE
following his unwanted sexual touching of female employees at a company Christmas
party. Within months of voluntarily leaving, he was invited back into a leadership role.

On many occasions, FIRE did not invite female employees to meetings or
provide updates, despite their expertise and job roles being directly related to a given
project. For example, for approximately six years, Complainant was one of two
employees who focused mainly on Title IX and due process issues. She was not invited
to multiple meetings among men to plan work relating to that topic. When FIRE filed
Case 2:21-cv-03762-CDJ Document 1-1 Filed 08/24/21 Page 5 of 7

Susan Kruth v. Foundation for Individual Rights in Education 2

litigation pertaining to Title IX and due process issues, which would directly affect her
work, neither Complainant nor the female director of litigation was informed in advance
of the filing. Rather, senior male employees completed the project without Complainant
and the female director of litigation participating. Male employees were consistently
included in relevant projects, females were not.

This and other instances of disparate treatment of women at FIRE led
Complainant to complain to FIRE’s HR manager, Cait Scanlan, in December 2020. It
was not the first time she had complained to managers and HR about sexism at FIRE,
but it was the first time she complained of sexism to Scanlan, who had recently joined
FIRE. Two months later, Complainant was terminated with no notice, effective
immediately, and told it was a result of her unhappiness working at FIRE. In other
words, she was fired for voicing her displeasure of the unequal treatment based upon
sex in the work place. On information and belief, Scanlan did not investigate any of her
claims.

For more than a year before Complainant was terminated, and through several
formal and informal reviews and check-ins with her supervisors, Complainant was only
given positive feedback, often glowing praise. For several years before that, her reviews
were overwhelmingly positive except for a note to “continue to be mindful of [her]
interactions with colleagues,” although her supervisor conceded that this note was a
formality and she hadn't mishandled any interactions with colleagues in recent years.
Even in the earlier reviews where Complainant's “tone” was supposedly an issue, work
performance was consistently deemed excellent. In the only two formal reviews by a
female supervisor, there were no remarks about any alleged inappropriate tone. In other
words, the Complainant completed her tasks in a satisfactory manner and was only
terminated after she made an internal complaint to Scanlan that she was unhappy with
the disparate treatment of female FIRE employees.

While Complainant was supposedly fired for being allegedly “unhappy,” many
staff members had been openly unhappy at FIRE for years. FIRE’s previous HR
manager conceded morale was awful in the years leading up to her leaving. FIRE
conducted company-wide, monthly engagement surveys throughout 2020 in a purported
attempt to improve employee morale. While Complainant didn’t have access to the
comments of other employees, the numerical results everyone had access to made
clear that many employees at FIRE were unhappy with and distrusting of leadership.
Complainant had also complained of sexism in the surveys and had encouraged
Scanlan during their meeting in December 2020 to read through everyone's comments
for a sense of why a significant number of employees were not happy at FIRE. Outside
of the survey context, several male employees expressed their discontent with
Case 2:21-cv-03762-CDJ Document 1-1 Filed 08/24/21 Page 6 of 7

Susan Kruth v. Foundation for Individual Rights in Education 3

management regularly and were known for their open and frequent grumpiness (“Will's
grumpy today” was a common remark around the office). While this was apparently not
worth addressing, Complainant's quiet state of unhappiness (again, largely because of
the prevalent sexism and FIRE’s unwillingness to address it) was supposedly enough to
warrant termination even after nearly a year of working remotely with no opportunities
for co-workers to even accidentally observe her in a state of alleged unhappiness.

During Complainant's employment at FIRE, four (4) male employees were
permitted to take weeks or months off in order to address mental health and/or
substance abuse problems. They returned to their positions at FIRE, despite
performance issues in the weeks or months leading up to their leave. Two (2) of the
four (4) employees were eventually either terminated or asked to leave. To
Complainant's knowledge, no female employees had taken similar time off while she
was at FIRE. Had Complainant’s alleged unhappiness been an actual problem which
interfered with her work performance (which it did not) and had she been given the
same opportunity as the male co-workers had received, she could have taken a few
months off to work on her mental health and returned to work renewed. Complainant
was not given that opportunity because women at FIRE are treated differently than the
men and because the assertion that she was problematically unhappy was merely a
pretext for FIRE’s retaliation against her.

Moreover, during Complainant's employment at FIRE, there has never been a
male co-worker who was fired without repeated warnings of wrongdoing or performance
issues over weeks, months, or even years, with the exception of one male employee
who committed an obvious fireable offense (deleting a huge amount of unrecoverable
information and then hiding it for weeks). As a result, terminated male employees had
ample time to either fix their problems or find another job. The Complainant was not
given that courtesy or opportunity.

In another instance, there was a male employee who frequently derailed email
discussions with irrelevant rants, picked fights with more senior employees, and was
unable to competently complete assignments. He was relatively new and behaved this
way for the entirety of his employment. Even after complaints from employees across
the company and repeated warnings, Complainant overheard an extensive conversation
between him and Shibley in which he was given the opportunity to advocate keeping his
job. He was fired shortly thereafter, but not immediately; unlike Complainant, he was at
least given the opportunity to change his behavior.

In contrast, Complainant, after eight (8) years of work that FIRE consistently
recognized as excellent, was not offered a single opportunity to speak in her own
Case 2:21-cv-03762-CDJ Document 1-1 Filed 08/24/21 Page 7 of 7

Susan Kruth v. Foundation for Individual Rights in Education 4

defense against the supposed, critical problem of her being “unhappy” (related to the
ongoing sexism at FIRE). Instead, she was completely cut off from her work email and
computer within minutes of being informed of the “problem.” Neither of Complainant's
two (2) current direct supervisors at the time, Azhar Majeed or Molly Nocheck, were
informed in advance that there was any problem with Complainant, much less that she
would be terminated, which to Complainant's knowledge has not been the case with any
other terminated employee at FIRE.

It is inconceivable that a well-funded, nonprofit organization that specifically
boasts a high retention rate would fire a veteran, high-performing employee in the
middle of a pandemic with no notice and no opportunity to conclude projects, simply for
being “unhappy.” Instead, Complainant was terminated in retaliation for pushing back
against a pattern and practice of discrimination based on sex. Even if her unhappiness
were the actual reason for Complainant’s termination, FIRE’s implementation of a rigid
standard with a female employee was in direct contrast to its lack of standards imposed
on the multiple openly-unhappy male employees, or male employees whose poor
performance and misbehavior was given long periods of time to plan and improve.

As a result of the termination from FIRE, Complainant was completely
unemployed for two (2) months. While she is now employed, she has suffered and will

continue to suffer financial loss of approximately $40,000 per year.

| declare under penalty of perjury that the above is true and correct.

Susan Kruth

Date: May 12, 2021

 
